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                  EXHIBIT A
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   Filing # 192608428 E-Filed 02/23/2024 12:41:57 PM


                      IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                              IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                              SMALL CLAIMS DIVISION

             YAHIDA APONTE,


                    Plaintiff,                                 I Case No:
                    v.



             EQUIFAX INFORMATION
             SERVICES, LLC,                                              JURY TRIAL DEMANDED


                    Defendant.

                                  COMPLAINT AND DEMAND FOR JURY TRIAL

                     COMES NOW the        Plaintiff, Yahida Aponte, ("Ms. Aponte"), by and through her

             attorneys, Seraph Legal, P.A., and complains of the Defendant, Equifax Information Services,

             LLC (Equifax"), stating as follows:

                                             PRELIMINARY STATEMENT

                     1.     This is an action for damages not to exceed $8,000, exclusive of attorney's fees and


             costs, brought by Ms. Aponte against Equifax for violations of the Fair Credit Reporting Act, 15

             U.S.C. § 1681, et. seq. (FCRA").

                                             JURISDICTION AND VENUE

                     2.     Jurisdiction arises under the FCRA, 15 U.S.C.      § 1681p and § 34.01, Florida

             Statutes.

                     3.     Equifax is subject to the provisions of the FCRA and is subject to the jurisdiction

             of the Court pursuant to § 48.193, Florida Statutes.

                     4.     Venue is proper in Hillsborough County, Florida, pursuant to § 47.051, Florida


             Statutes, because the acts complained of were committed and / or caused by the Defendant within

             Hillsborough County.


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                                                           PARTIES

                      5.      Ms. Aponte is a natural person residing in Plant City, Hillsborough County, Florida.

                      6.      Ms. Aponte is a Consumer as defined by 15 U.S.C. § 1681a(c).

                      7.      Equifax is a Georgia corporation, with a primary business address of 1550

             Peachtree Street NW, Atlanta, GA 30309.

                        8.    Equifax is registered to conduct business in the State of Florida, where its

             Registered Agent is Corporation Service Company, 1201 Hays Street, Tallahassee, FL 32301.

                      9.      Equifax is a nationwide Consumer Reporting Agency (CRA”) within the meaning

             of 15 U.S.C. § 1681a(f), in that, for monetary fees, dues, and/or on a cooperative nonprofit basis,

             it regularly engages in whole or in part in the practice of assembling or evaluating consumer credit


             information or other information on consumers for the purpose of furnishing consumer reports to

             third parties, and which uses means or facilities of interstate commerce for the purpose of preparing

             or   furnishing consumer reports, specifically the mail and internet. As a CRA, Equifax is aware of

             its obligations under the FCRA.

                                                FACTUAL ALLEGATIONS

                                     Ms. Aponte's January 2024 Consumer Disclosure

                        10.   On or about January 12, 2024, Ms. Aponte requested and obtained a copy of her

             consumer credit disclosure from    Equifax.

                        11.   Pursuant to 15 U.S.C. § 1681g(a), upon receipt of Ms. Aponte's request, Equifax

             was   required to "clearly and accurately" disclose all information in Ms. Aponte's file at the time

             of her request, with the limited exception that her                         could be truncated upon


             request.




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                               Equifax's Disclosure Was Not Complete, Clear, or Accurate

                                                 Missing Original Creditors

                     12.     Despite a requirement to disclose all information in her credit file at the time of her

             request, Equifax's Disclosure omitted significant amounts of information contained in Ms.

             Aponte's credit file.

                     13.     Equifax's Disclosure indicated that Ms. Aponte's file contained three accounts

             classified as "Other." SEE PLAINTIFF'S EXHIBIT A.

                     14.     Equifax's Disclosure stated: "Other accounts are those that are not already

             identified as Revolving, Mortgage, or Installment Accounts such as child support obligations or

             rental agreements." Id.

                     15.     Two ofthe three accounts appearing in the "Other" section were reported to Equifax


             by Midland Credit Management (MCM"), and one account by National Credit Adjusters

             ("NCA").

                     16.     MCM and NCA are both Debt Buyers         —



                                                                          companies whose primary purpose is the

             purchase and collection of debts which were originally owed to third parties.

                     17.     As MCM and NCA do not lend to consumers, they are never an Original Creditor.

                     18.     Despite this, when disclosing the MCM and NCA tradelines to Ms. Aponte, Equifax

             indicated that MCM and NCA were the original creditors of the accounts, omitting any reference

             to the true original creditor.


                     19.     Despite being required to provide a full and complete disclosure of the information

             contained within its records, per 15 U.S.C. § 1681g(a), under the "Account Details" section of the


             account, Equifax placed a notation, "Contact the creditor or lender if you have any questions about




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                     20.     Equifax thus shifted the burden of disclosure and inquiry away from itself, and onto

             Ms. Aponte.


                                                   Missin2

                     21.     Making matters even more confusing for Ms. Aponte, Equifax omitted all but the

             last four digits of the                    relating to the MCM and NCA tradelines.

                     22.     MCM and NCA reported the full                         to Equifax, and this information


             was contained within      Equifax's file regarding Ms. Aponte at the time of her request.

                     23.     When Equifax produces and sells reports regarding Ms. Aponte to third parties, the

             full account numbers and names of the original creditors are included in its reports.

                     24.     The accuracy of Equifax's reports to third parties demonstrates its ability to comply

             with 15 U.S.C. § 1681g(a) as well as the contents of its files.

                     25.     Having a duty to disclose all of the information regarding the accounts in

             Ms. Aponte's file, Equifax breached its duty by failing to provide the account numbers and original


             creditorsnames, as such information is necessary for a consumer to be able to research and

             evaluate the information contained in her credit file.

                     26.     Absent such information, a consumer is reduced to, at best, playing detective and,

             at worst, guessing as to whether the information in their report is accurate.


                     27.     Equifax's disclosure contains a section entitled "Collections," stating: "Collections

             are accounts with   outstanding debt that have been placed by a creditor with a collection agency.

             Collections stay on your credit report for up to 7 years from the date the account first became past

             due.   They generally have a negative impact on your credit score."

                     28.     Both MCM and NCA are registered with the Florida Office ofFinancial Regulation

             as a Consumer Collection      Agency.




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                    29.     Thus, Equifax should have placed these tradelines under the "Collections" header

             of Ms. Aponte's Disclosure, rather than the "Otheeheader.

                    30.     In addition to missing the full                   from the "Other Accounts," Equifax

             disclosed a significant number of accounts reported by other data furnishers without full




                    31.     Under the heading Revolving Accounts, Equifax disclosed 3 tradelines without full




                    32.     Under the heading Installment Accounts, Equifax disclosed 12 tradelines without

             full

                    33.     The data furnishers for these tradelines reported full                      to Equifax,


             and this information was contained within Equifax's file on Ms. Aponte at the time of her request

             for her consumer disclosure.

                    34.     The failure to disclose full                    violates the FCRA's requirement that

             a CRA disclose all information contained in a consumer's credit file      clearly and accurately. See

             Washington v. Equifax, Case No. 3:19-cv-00154 (M.D. Tenn. Jun. 12, 2019) ("The plain language

             of the FCRA requires that the consumer reporting agency shall clearly and accurately disclose to

             the consumer    [a]ll information in the consumer's file at the time of the request.' 15 U.S.C. §

             1681g. In the absence of binding authority stating that a truncated                     is a clear and

             accurate disclosure, the Court finds that Plaintiff has stated a plausible claim for a violation of


             Section 609 of the FCRA.")

                    35.     The failure of an entity to provide accurate and truthful information as required by

             law creates an injury-in-fact, thus creating standing pursuant to Article III. See, e.g., Havens Realty


             Corp. v. Coleman, 455 U.S. 363 (1982), holding "alleged injury to (plaintiff s) statutorily created




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             right to truthful housing informatioe was a cognizable injury in and of itself, regardless of whether

             the plaintiff actually hoped to reside in the defendant's housing complex; therefore "the Art. III


             requirement of injury in fact [was] satisfied.

                    36.     The lack of accurate, full                  caused Ms. Aponte great frustration and

             emotional distress when trying to understand her credit report and verify it against her own records.

                    37.     Further, pursuant to a 2000 FTC Opinion Letter (Advisory Opinion to Darcy, June

             30, 2000), "it is our view that a CRA that always scrambles or truncates account (or

                      does not technically comply with Section 609 because it does not provide 'accurate(and


             perhaps not 'clear') disclosure of 'all information' in the file." SEE PLAINTIFF'S EXHIBIT B.

                    38.     Equifax's omission of the original creditor and full                           greatly

             decreases a consumer's ability to understand her consumer credit disclosure, identify the accounts,

             and compare those accounts with her own records.

                    39.     The Credit Reporting Resource Guide, published by the Consumer Data Industry

             Association (CDIA"), a trade association representing the CRAs, including Equifax, states that:

                            "The purpose of reporting the original creditor name is to help
                            consumers identify the source of accounts when they appear on credit

                            reports. Without the original creditor names, consumers may not know
                            what the accounts represent." (Emphasis original.)

             SEE PLAINTIFF'S EXHIBIT C.

                    40.     The Credit Reporting Resource Guide instructs debt collectors to "(r)eport the name

             of the company/creditor that originally opened the account for the consumer." Id

                    41.     On information and belief, MCM and NCA complied with the Credit Reporting

             Resource Guide and reported the names of the true original creditors of their reported accounts.




                                              Prevalence of Equifax's Errors




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                      42.      On information and belief, Equifax's Disclosure to Ms. Aponte was generated using

             a   template that extracts database information from a consumer's file and populates it into various

             pre-programmed fields on a consumer disclosure form.

                      43.      On information and belief, this same template is used virtually every time a

             consumer    requests their file from Equifax through www.annualcreditreport.com.

                      44.      On information and belief, www.annualcreditreport.com is the location where most

             consumers obtain their    Equifax credit disclosure.

                      45.      Consumer disclosures retrieved through annualcreditreport.com all exhibit the

             same    missing                   and missing original creditor name errors.

                      46.      Thus, every consumer with accounts appearing in the "Other" section of their

             disclosure who requested their disclosure from Equifax through www.annualcreditreport.com

             since the      template's use began, received a consumer disclosure with the same errors as

             Ms. Aponte.

                      47.      Equifax's error has therefore likely affected thousands of consumers.

                      48.      Equifax has known of the flaws in its systems for years, but has done nothing to fix

             them, despite the large number of consumers affected. See, e.g., Justin Purdy vs. Equifax

             Information Services LLC, case 8:19-cv-00217, M.D. FL, Jan. 28, 2019.

                      49.      Equifax's knowing and repeated conduct warrants an award ofpunitive damages.

                      50.      Equifax's failure to disclose all of the information in the consumer's credit file in

             free annual disclosures is an intentional violation of 15 U.S.C. §        1681g(a), motivated by the

             Defendant's desire to avoid costs and increase profits.




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                        51.    Ms. Aponte has a right to a full and complete disclosure of the contents of her file


             upon demand, at least once a year and without charge, and that disclosure must be presented clearly

             and accurately. 15 U.S.C. § 1681j.

                        52.    Equifax's failure to accurately, fully, and clearly disclose the information within its

             files regarding Ms. Aponte deprived her of this right.

                        53.    Ms. Aponte has hired the undersigned law firm to represent her in this matter and

             has assigned them her right to obtain reimbursement for her reasonable fees and costs.

                                                               COUNT I
                                  EQUIFAX'S WILLFUL VIOLATIONS OF THE FCRA

                        54.    Ms. Aponte adopts and incorporates paragraphs 1      -

                                                                                        53 as if fully stated herein.

                        55.    Equifax violated 15 U.S.C. § 1681g(a)(1) when responding to Ms. Aponte's

             request for her consumer disclosure by failing to clearly and accurately disclose to Ms. Aponte, a

             Consumer, all of the information in her file at the time of the request. Specifically, Equifax

             disclosed two accounts reported by MCM and one account by NCA without disclosing the full

             account numbers or the names of the Original Creditors, as well as 15 additional accounts without


             the full                     even   though full                   were     reported by the data furnishers.

                        56.    Equifax knowingly provided inaccurate information in Ms. Aponte's disclosure, as

             it knew of these issues, which have been identified and disputed by other consumers for years.

                        57.    Equifax is therefore liable to Ms. Aponte, pursuant to 15 U.S.C. § 1681n, for the

             greater of her actual damages and statutory damages of up to $1,000 per violation, plus attorneys'

             fees and costs.

                        WHEREFORE, Ms. Aponte respectfully requests that the Honorable Court enter

             judgment against Equifax for:




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                        a.    The greater of statutory damages of $1,000 per incident and Ms. Aponte's actual


                              damages, pursuant to 15 U.S.C. § 1681n(a)(1)(A);

                        b.    Punitive damages pursuant to 15 U.S.C. § 1681n(a)(2);

                        c.    Reasonable costs and       attorneysfees pursuant to pursuant to          15 U.S.C.    §

                              1681n(a)(3); and,

                        d.    Such other relief that this Court deems just and proper.

                                                COUNT II
                               EQUIFAX'S NEGLIGENT VIOLATIONS OF THE FCRA

                        58.   Ms. Aponte adopts and incorporates paragraphs 1    -

                                                                                     53 as if fully stated herein.

                        59.   Equifax violated 15 U.S.C. § 1681g(a)(1) when responding to Ms. Aponte's

             request for her consumer disclosure by failing to clearly and accurately disclose to Ms. Aponte, a

             Consumer, all of the information in her file at the time of the request. Specifically, Equifax

             disclosed two accounts reported by MCM and one account by NCA without disclosing the full

             account numbers or the names of the Original Creditors, as well as 15 additional accounts without


             the full                     even   though full                  were   reported by the data furnishers.

                        60.   Equifax has a legal duty to provide consumers with a clear and accurate disclosure

             of all information within its file at the time of the consumer's request.

                        61.   Equifax breached this duty when Equifax disclosed two accounts reported by MCM

             and one account by NCA without disclosing the full account numbers or the names of the Original


             Creditors, as well as 15 additional accounts without the full                          even   though full

                                were   reported by the data furnishers.

                        62.   Equifax is therefore liable to Ms. Aponte, pursuant to 15 U.S.C. § 1681o, for Ms.

             Aponte's actual damages, plus attorneys' fees and costs.




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                    WHEREFORE, Ms. Aponte respectfully requests that the Honorable Court enter

             judgment against Equifax for:

                    a.     Ms. Aponte's actual damages pursuant to 15 U.S.C. § 1681o(a)(1);

                    b.     Reasonable costs and      attorneysfees pursuant to pursuant to        15 U.S.C.   §

                           1681o(a)(2); and,

                    c.     Such other relief that this Court deems just and proper.



                                             DEMAND FOR JURY TRIAL

                    Ms. Aponte demands a jury trial on all issues so triable.



             Respectfully submitted on February 23, 2024, by:

                                                                  SERAPH LEGAL, P. A.

                                                                  lsl Fethullah Gulen
                                                                  Fethullah Gulen, Esq. (lead counsel)
                                                                  Florida Bar No.: 1045392
                                                                  FGulen@seraphlegal.com
                                                                  2124 W. Kennedy Blvd., Ste. A
                                                                  Tampa, FL 33606
                                                                  Tel: 813-567-1230
                                                                  Fax: 855-500-0705
                                                                  Attorneys for Plaintiff


             ATTACHED EXHIBIT LIST

             A.     Ms. Aponte's Equifax Consumer Disclosure, January 12, 2024, Other Accounts.
             B.     FTC Opinion Letter.
             C.     Credit Reporting Resource Guide, Original Creditor Name Excerpt.




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                                                                       EXHIBIT A
                     Ms. Aponte's Equifax Consumer Disclosure, January 12, 2024, Other
                                                Accounts


              5. Other Accounts

              Other accounts are those that are not already identified as Revolving. Mortgage Of installment Accounts such as child support
              obligations or rental agreements.

              5.1 MIDLAND CREDIT MANAGEMENT (CLOSED)


              Summary
              Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. les
              calculated by dividing an accounts reported balance by its credit limit.


                                                                                       Reported Balance

              Account Status                                    COLLECTION            Available Credit



              Account History


              The tables below show up to 3 years of the monthly balance. available credit, scheduled payment. date of last payment, high credit,
              credit limit, amount past due, activity designator. and comments.

              Balance



              2022


              2023

              2024


              Available Credit



              2022

              2023

              2024


              Scheduled Payment



              2022

              2023


              2024




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                                                                        EXHIBIT A
                    Ms. Aponte's Equifax Consumer Disclosure, January 12, 2024, Other
                                               Accounts

               Account Details




               ortenger                                              YAHIDA APONTE 1Jan 12. 2024                                             Page 4 l of /0
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                                                                                                                                         -




               View detailed information about this account Contact the creditor or lender if you have any questions about it.

               High Credit                                                              Owner                                                INDIVIDUAL

               Credit Limit                                                             Account Type                                              OTHER

               Terms Frequency                                      UNKNOWN             Term Duration                                                    0


               Balance                                               111M111            Date Opened                                           Jul 29. 2020

               Amount Past Due
                                                                     II=                Date Reported                                        Jan DS, 2024

               Actual Payment Amount
                                                                    IIMI1               Date of Last Payment

               Date of Last Activity                                                    Scheduled Payment Amount

               Months Reviewed                                                          Delinquency First Reported                               Nov 2020


               Activity Designator                                                      Creditor Classification                                   RETAIL

               Deferred Payment Start Date                                              Charge Off Amount

               Balloon Payment Date                                                     Balloon Payment Arnount

               Loan Type                                     Debt Buyer Account         Date Closed

               Date of First Delinquency                              Sep 201a

               Comments                                                                           Contact

               Collection account                                                                 MIDLAND CREDIT MANAGEMENT
                                                                                                  350 CAMINO DEL LA REINA, SUITE 100
                                                                                                  SAN DIEGO, CA 92108
                                                                                                  1.877.822.0381




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                                                                          EXHIBIT A
                      Ms. Aponte's Equifax Consumer Disclosure, January 12, 2024, Other
                                                 Accounts



               5.2 MIDLAND CREDIT MANAGEMENT (CLOSED)


               Summary
               Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score, lts
               calculated by dividing an accounts reported balance by its credit rirnit.

                                                                                           Reported Balance

               Account Status                                       COLLECTION             Available Credit



               Account History


               The tables below show up to 3 years of the monthly balance, available credit. scheduled payment, date of last payment. high credit.
               credit limit, amount past due, activity designator, and comments.

               Balance



               2022

               2023

               2024



               Available Credit



               2022


               2023


               2024


               Scheduled Payment

                                                                                                                                                    D.

               2022


               2023


               2024


               Actual Payment

               Year     Jan        Feb         Mar        APr         May
               2022




               MARIN                                                   YAHIDA APONTE I Jan 12. 2024                                            Page 49 of 70
               11E=ZDZI=DE=Mtiii-1/i-                                       Other                                             Public Records
                                                                                                                                               Agi=1




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                                                                        EXHIBIT A
                     Ms. Aponte's Equifax Consumer Disclosure, January 12, 2024, Other
                                                Accounts

               Account Details


               View detailed information about this account Contact the creditor or lender if you have any questions about it.


               High Credit
                                                                        11.)            Owner                                          INDIVIDUAL




               exteugar                                              YAIIDA APONTE 1Jan 12, 2024                                       Page 50 of 10
                                                                          Other




               Credit Limit                                                             Account Type                                        OTHER

               Terms Frequency                                                          Term Duration                                             0

               Balance
                                                                        =               Date Opened                                    Oct 23, 2018


               Amount Past Due                                                          Date Reported                                  Jan 06. 2024

               Actual Payment Amount
                                                                        =               Date of Last Payment

               Date of Last Activity
                                                                      111               Scheduled Payment Amount


               Months Reviewed
                                                                         lin            Delinquency First Reported

                                                                                        Creditor Classification
                                                                                                                                          Jan 2021

                                                                                                                                            RETAIL
               Activity Designator

               Deferred Payment Start Date                                              Charge Off Amount

               Balloon Payment Date                                                     Balloon Payment Amount

               Loan Type                                     Debt Buyer Account         Date Closed


               Date of First Delinquency                              Jan 2018


               Comments                                                                           Contact


               Collection account                                                                 MIDLAND CREDIT MANAGEMENT
                                                                                                  350 CAMINO DEL LA REINA, SUITE 100
                                                                                                  SAN DIEGO, CA 92108
                                                                                                  1.877.822.0381




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                                                                       EXHIBIT A
                   Ms. Aponte's Equifax Consumer Disclosure, January 12, 2024, Other
                                              Accounts


                5.3 NATIONAL CREDIT ADJUSTERS (CLOSED)


               Summary
               Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. Irs
               calculated by dividing an accounts reported balance by its credit limit.

                                                                                        Repor1et1 Balance

               Account Status                                    COLLECTION            Available Credit



               Account History

               The tables below show up to 3 years of the monlhly balance, available credit, scheduled payment, date of last payment, high credit,
               credit limit, amount past due, activity designator, and comments.

                Balance

                                                                                                                                       ov       Dec

                2022

                2023

                2024



               Available Credit

                                                                                                                                       ov       Dec

                2022

                2023

                2024


               Scheduled Payment



                2022

                2023


                2024


               Actual Payment



                2022




               EqUIFAX                                               YAHIDA APONTE I Jan 12, 2024                                           Paw 52 of 70




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                                                                         EXHIBIT A
                    Ms. Aponte's Equifax Consumer Disclosure, January 12, 2024, Other
                                               Accounts


               Account Details


               View detailed information about this account. Contact the creditor or lender if you have any questions about it.


               High Credit                                                               Owner                                                     INDIVIDUAL




               Equmile                                                YAHIDA APONTE l Jan 12, 2024                                                 PagEr 53 of 70
                                              41c"Igagu                    Other
                                                                                                     -

                                                                                                         monad Info   B:311=      Public Records
                                                                                                                                                   113=




               Credit Limit
                                                                       lan               Account Type                                                   OTHER

               Terms Frequency                                     MIME                  Tenn Duration                                                         0

               Balance                                              Mil                  Date Opened                                               Aug 14, 2020

               Amount Past Due
                                                                        111.110          Date Reported                                             Jan 01, 2024

               Actual Payment Amount

               Date of Last Activity
                                                                         MD              Date of Last Payment

                                                                                         Scheduled Payment Amount

               Months Reviewed                                                           Delinquency First Reported                                    Oct 2020


               Activity Designator                                                       Creditor Classification                                        RETAIL

               Deferred Payment Start Date                                               Charge Off Arnount
               Balloon Payment Date                                                      Balloon Payment Arnount

               Loan Type                                     Debt Buyer Account          Date Closed


               Date of First Delinquency                               Jan 2018


               Comments                                                                            Contact


               Collection account                                                                  NATIONAL CREDIT ADJUSTERS
                                                                                                   327 W 4TH ST
                                                                                                   HUTCHINSON, KS 67501
                                                                                                   1-B00.542-1048




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                                                                       EXHIBIT C
                    Credit Reporting Resource Guide, Original Creditor Name Excerpt


                          Field Definitions

                          K1 Segment
                          Original Creditor Name
                         The K1 Segment must be present each time the account is reported by collection agencies, debt buyers, check
                         guarantee companies, student loan guaranty agencies, and the U.S. Department of Education. The purpose of
                         reporting the original creditor name is to help consumers identify the source of accounts when they
                         appear on credit reports. Without the original creditor names, consumers may not know what the accounts
                          represent.

                         Some state laws and CDIA policy stipulate that the original client/creditor must be identified. Federal law
                         stipulates that the name of the payee must be identified when reporting returned checks.

                         Only one occurrence of the K1 Segment can be appended to the Base Segment. If not applicable, do not
                         report the K1 Segment.


                           FIELD       FIELD NAME & DESCRIPTION                                                       366 and 426 FORMATS

                                                                                                                    Length       Position   Recording
                                                                                                                                            Technique

                              1        Segment Identifier                                                             2            1-2         AN
                                       Contains a constant of Kt.

                              2        Original Creditor Name                                                        30           3-32         AN
                                       The content of this field is dependent on the type of reporter.

                                       Collection Agencies: Report the name of the company/creditor that
                                       originally opened the account for the consumer, even if the account had
                                       been turned over to multiple collection agencies.

                                       Debt Buyers: Report the name of the company/creditor that originally
                                       opened the account for the consumer, even if the account had been sold
                                       multiple times to different debt buyers. Refer to the K2 Segment for
                                       "purchased from" information.

                                       Companies Reporting Retumed Checks: Report the name of the payee;
                                       i.e., name of company to which the check was written. Refer to
                                       Frequently Asked Question 16 for additional guidelines on reporting
                                       returned checks.

                                       Student Loan Guarantors/U.S. Department of Education: Report the
                                       name of the original student loan lender.


                                       One of the following three options should be used when reporting a
                                       creditor's name that would reveal sensitive information about the
                                       consumer.


                                       1.   Report the name of the institution, but do not include reference to
                                            the type of service. For example, use the hospital name without
                                            identifying that it was the psychiatric unit that provided care. If a
                                            hospital's name reveals sensitive information, abbreviate the name.

                                       2.   Use the corporate name if it is different from the commercial name
                                            of a mental institution or drug rehabilitation center.

                                       3.   Do not report the account if either of the above two options would
                                            not sufficiently protect the consumers privacy.

                                       Note: Encoded information is not acceptable in this field.




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